            Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 1 of 31




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA

 KERRY GOODE, on behalf of himself
 and all others similarly situated,                  CIVIL ACTION FILE NO.:

                        Plaintiff,                   CLASS ACTION
        v.

 NATIONAL COLLEGIATE ATHLETIC
 ASSOCIATION,

                        Defendant.




             CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff Kerry Goode and on behalf of himself and all others similarly situated, brings this

Class Action Complaint and Demand for Jury Trial against Defendant National Collegiate Athletic

Association (“NCAA”) to obtain redress for injuries sustained a result of Defendant’s reckless

disregard for the health and safety of generations of The University of Alabama (“Alabama”)

athletes. Plaintiff alleges as follows upon personal knowledge as to his own acts and experiences

and as to all other matters, upon information and belief, including investigation conducted by their

attorneys.

                                       INTRODUCTION

       1.       Nearly one hundred thousand athletes sign up to compete in college football each

year, and it’s no surprise why. Football is America’s sport, and Kerry Goode and a Class of football

players (defined below) were raised to live and breathe the game. During football season, there are

entire days of the week that millions of Americans dedicate to watching the game. On game days,

hundreds of thousands of fans fill stadium seats and even more watch around the world. Before




                                                 1
            Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 2 of 31




each game, these players—often mere teenagers—are riled up and told to do whatever it to takes

to win and, when playing, are motivated to do whatever it takes to keep going.

       2.        But, Defendant NCAA has kept players and the public in the dark about an

epidemic that was slowly killing college athletes.

       3.        During the course of a college football season, athletes absorb more than 1,000

impacts greater than 10 Gs (gravitational force) and, worse yet, the majority of football-related hits

to the head exceed 20 Gs, with some approaching 100 Gs. To put this in perspective, if you drove

your car into a wall at twenty-five miles per hour and weren’t wearing a seatbelt, the force of you

hitting the windshield would be around 100 Gs. Thus, each season these 18, 19, 20, and 21-year-

old college athletes are subjected to repeated car accidents.

       4.        Over time, the repetitive and violent impacts to players’ heads led to repeated

concussions that severely increased their risks of long-term brain injuries, including memory loss,

dementia, depression, Chronic Traumatic Encephalopathy (“CTE”), Parkinson’s disease,

amyotrophic lateral sclerosis (“ALS”) and other symptoms. Meaning, long after they played their

last game, they are left with a series of neurological events that could slowly strangle their brains.

       5.        For decades, Defendant NCAA knew about the debilitating long-term dangers of

concussions, concussion-related injuries, and sub-concussive injuries (referred to as “traumatic

brain injuries” or “TBIs”) that resulted from playing college football, but recklessly disregarded

this information to protect the very profitable business of “amateur” college football.

       6.        While in school, football players were under Defendant’s care. Unfortunately,

Defendant did not care about the off-field consequences that would haunt students, like Plaintiff

Kerry Goode, for the rest of their lives.

       7.        Despite knowing for decades of a vast body of scientific research describing the




                                                  2
               Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 3 of 31




danger of traumatic brain injuries (“TBIs”) like those Kerry Goode experienced, Defendant failed

to implement adequate procedures to protect Kerry Goode and other Alabama football players

from the long-term dangers associated with them. They did so knowingly and for profit.

          8.        As a direct result of Defendant’s acts and omissions, Kerry Goode and countless

former Alabama football players suffered brain and other neurocognitive injuries from playing

NCAA football. As such, Plaintiff brings this Class Action Complaint in order to vindicate those

players’ rights and hold the NCAA accountable.

                                               PARTIES

          9.       Plaintiff Kerry Goode is a natural person currently residing at 639 Herron Court,

Fairburn, Georgia 30213.

          10.      Defendant NCAA is an unincorporated association with its principal place of

business located at 700 West Washington Street, Indianapolis, Indiana 46206. Defendant NCAA

is not organized under the laws of any State, but is registered as a tax-exempt organization with

the Internal Revenue Service. Defendant NCAA is a citizen of the State of Indiana under 28 U.S.C.

§ 1332(d)(10).

                                    JURISDICTION AND VENUE

          11.      This Court has subject matter jurisdiction over Plaintiff’s claims under 28 U.S.C. §

1332(d)(2) because (a) at least one member of the Class, which consists of at least 100 members,

is a citizen of a different state than Defendant, (b) the amount in controversy exceeds $5,000,000,

exclusive of interest and costs, and (c) none of the exceptions under that subsection apply to this

action.

          12.       This Court has personal jurisdiction over Defendant NCAA because it regularly

conducts significant business in this District, including establishing consumer and business




                                                    3
              Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 4 of 31




contracts here, and because it has intentionally directed its actions towards this district both in

connection with the facts underlying this case and otherwise.

           13.       Venue is proper in this District pursuant to 28 U.S.C. § 1391 because a substantial

part of the events and omissions giving rise to Plaintiff’s claims occurred in and/or emanated from

this District, including but not limited to NCAA football game(s) he played in the District.

                                          FACTUAL BACKGROUND

I.         Defendant Had a Duty to Protect Alabama Athletes, Including Kerry Goode

           14.      The NCAA is the governing body of collegiate athletics that oversees twenty-three

college sports and over 400,000 students who participate in intercollegiate athletics, including the

football program at Alabama. According to the NCAA, more than 1,200 schools, conferences and

affiliate organizations collectively invest in improving the experiences of athletes—on the field,

in the classroom, and in life.

           15.      The NCAA brings in more than $750 million in revenue each year and is the most

significant college sports-governing body in the United States.

           16.      The NCAA plays a significant role in governing and regulating the Alabama

football program and owes a duty to safeguard the well-being of its athletes.

           17.      In fact, since its founding in 1906, the NCAA (then the Intercollegiate Athletic

Association of the United States (“IAAUS”)), has claimed to be “dedicated to safeguarding the

well-being of student-athletes and equipping them with the skills to succeed on the playing field,

in the classroom and throughout life.” 1 The IAAUS was specifically formed for this purpose

because, at the turn of the twentieth century, head injuries were occurring at an alarming rate in

college football. In response, President Theodore Roosevelt convened a group of Ivy League


1
    Who We Are, Nat’l Collegiate Athletic Ass’n, http://www.ncaa.org/about/who-we-are (last visited January 28, 2019).




                                                           4
              Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 5 of 31




university presidents and coaches to discuss how the game could be made safer. After several

subsequent meetings of colleges, the NCAA was established. 2

           18.      As such, the genesis of the NCAA was for a singular goal: “to keep college athletes

safe.” 3

           19.      The overarching principles of the NCAA, including its purported commitment to

safeguarding its athletes, are contained in the NCAA Constitution. The NCAA Constitution clearly

defines the NCAA’s purpose and fundamental policies to include maintaining control over and

responsibility for intercollegiate sports and athletes. The NCAA Constitution states:

           The purposes of this Association are:

                      (a) To initiate, stimulate and improve intercollegiate
                          athletics programs for athletes;

                      (b) To uphold the principal of institutional control of, and
                          responsibility for, all intercollegiate sports in conformity
                          with the constitution and bylaws of this association;

    NCAA Const., Art. 1, § 1.2(a)(b).

           20.      The NCAA Constitution also defines one of its “Fundamental Policies” as the

requirement that “[m]ember institutions shall be obligated to apply and enforce this legislation,

and the enforcement procedures of the Association shall be applied to an institution when it fails

to fulfill this obligation.” NCAA Const., Art. 1, § 1.3.2.

           21.      Article 2.2 of the NCAA Constitution specifically governs the “Principle of

Student-Athlete Well-Being,” and provides:

                     2.2 The Principle of Student-Athlete Well-Being.
                     Intercollegiate athletics programs shall be conducted in a manner
                     designed to protect and enhance the physical and educational well-
2
    In 1910, the IAAUS changed its name to the National Collegiate Athletic Association.
3
    Well-Being, Nat’l Collegiate Athletic Ass’n, http://www.ncaa.org/health-and-safety (last visited January 28, 2019).




                                                            5
          Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 6 of 31




                 being of student athletes. (Revised: 11/21/05.)

                 2.2.3 Health and Safety.
                 It is the responsibility of each member institution to protect the
                 health of, and provide a safe environment for, each of its
                 participating student athletes. (Adopted: 1/10/95.)

        22.     To accomplish this purpose, the NCAA promulgates and implements standard sport

regulations and requirements, such as the NCAA Constitution, Operating Bylaws, and

Administrative Bylaws. These NCAA documents provide detailed instructions on game and

practice rules, player eligibility, scholarships, and player well-being and safety. Both NCAA

member institutions, including schools like Alabam, and NCAA conferences are obligated to abide

by the NCAA’s rules and requirements. Specifically, according to the NCAA Constitution: “Each

institution shall comply with all applicable rules and regulations of the Association in the conduct

of its intercollegiate athletics programs . . . Members of an institution’s staff, athletes, and other

individuals and groups representing the institution’s athletics interests shall comply with the

applicable Association rules, and the member institution shall be responsible for such compliance.”

NCAA Const., Art. 2, § 2.8.1.

        23.     The NCAA publishes a health and safety guide termed the Sports Medicine

Handbook (the “Handbook”). The Handbook, which is produced annually, includes the NCAA’s

official policies and guidelines for the treatment and prevention of sports-related injuries, as well

as return-to-play guidelines, and recognizes that “student-athletes rightfully assume that those who

sponsor intercollegiate athletics have taken reasonable precautions to minimize the risk of injury

from athletics participation.” 4

        24.     The NCAA, therefore, holds itself out as both a proponent of and authority on the



4
 John T. Parsons, 2014-15 NCAA Sports Med. Handbook, NAT’L COLLEGIATE ATHLETIC ASS’N (Aug. 2014),
available at https://bit.ly/2QD5DUx .




                                                  6
          Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 7 of 31




treatment and prevention of sports-related injuries upon which NCAA athletes (including Kerry

Goode), Alabama, and all other member institutions can rely for guidance on player-safety issues.

        25.     Kerry Goode—and other football players at Alabama—relied upon the NCAA’s

authority and guidance to protect his health and safety by treating and preventing head-related

injuries, including the effects of those head injuries later on in his life.

        26.     As compared to Kerry Goode and other Alabama football players, the NCAA was

in a superior position to know of and mitigate the risks of sustaining concussions and other TBIs

while playing football at Alabama. It failed to do so.

II.     Decades of Studies Firmly Establish the Dangers of Football-Related Concussions.

        27.     Throughout the twentieth century and into the twenty-first century, studies have

firmly established that repetitive and violent impacts to the head can cause concussions and TBIs,

with a heightened risk of long-term injuries and impacts, including—but not limited to—memory

loss, dementia, depression, Alzheimer’s disease, Parkinson’s disease, ALS, and CTE.

        28.     Such violent impacts to the head are a one-way street for those who experience

them. As Jonathan J. Russin—Assistant Surgical Director at the USC Neurorestoration Center at

the Keck School of Medicine—has stated, “there’s no way to undo a traumatic brain injury,” and

one’s “best bet is to avoid concussions altogether.” 5

        29.     To better understand the results of these studies, a brief introduction to concussions

in football follows.


        A.      An Overview of Concussions in Football.

        30.     A TBI is an injury to the brain that comes as the result of the application of either



5
   Deanna Pai, Do Concussions Increase the Risk of Stroke or Brain Cancer?       Keck Med. of USC,
https://bit.ly/2MzSkkC (last visited Sept. 18, 2018).




                                                    7
         Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 8 of 31




external physical force or rapid acceleration and deceleration forces, which disrupts brain function

in a manner that causes impairments in cognitive and/or physical function.

       31.     A concussion is a TBI initiated by an impact to the head, which causes the head and

brain to move rapidly back and forth. The movement causes the brain to bounce around or twist

within the skull, damaging brain cells and leading to harmful chemical changes in the brain.

       32.     The human brain is made of soft tissue, cushioned by spinal fluid, and encased in a

hard skull. During everyday activity, the spinal fluid protects the brain from crashing against the

skull. But relatively minor impacts—including not only direct blows to the head, but also blows

to the body and movements that cause the neck to whiplash—can move the brain enough to press

through the spinal fluid, knock against the inside of the skull, and cause concussions.

       33.     Concussions typically occur when linear and rotational accelerations impact the

brain through either direct impact to the head or indirect impacts that whiplash the head. During

the course of a college football season, studies have shown that athletes can receive more than

1,000 impacts greater than 10 Gs. This is slightly more force than a fighter pilot receives from

performing maximal maneuvers. The majority of football-related hits to the head exceed 20 Gs,

with some going well over 100 Gs.

       34.     Kevin Guskiewicz, of the University of North Carolina’s Sports Concussion

Research Program, compared the impacts sustained in a routine college football practice to crashing

a car: “If you drove your car into a wall at twenty-five miles per hour and you weren’t wearing

your seat belt, the force of your head hitting the windshield would be around 100 [Gs]: in effect,

the player [who sustained two hits above 80 Gs] had two car accidents that morning.” 6




6
    Malcolm     Gladwell,    Offensive   Play,    The    New      Yorker     (October     19,   2009)



                                                 8
           Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 9 of 31




                    i.     Concussion Symptoms.

        35.        When a collegiate athlete suffers a severe impact to the head, he may experience

concussion-related symptoms, including:

                     •    “seeing stars” and feeling dazed, dizzy, or lightheaded;

                     •    memory loss;

                     •    nausea or vomiting;

                     •    headaches;

                     •    blurred vision and sensitivity to light;

                     •    slurred speech or saying things that do not make sense;

                     •    difficulty concentrating, thinking, or making decisions;

                     •    difficulty with coordination or balance;

                     •    feeling anxious or irritable for no apparent reason; and

                     •    feeling overly tired.

        36.       A collegiate athlete may not recognize the signs and/or symptoms of a concussion,

and, more often, the effect of the concussion itself prevents him from recognizing them. Because

of that, he may put himself at risk of further injury by returning to a game after a concussion.

Brains that have not had time to properly heal from a concussion are particularly susceptible to

further injury.

                    ii.     Post-Concussion Treatment

        37.       After a concussion, the brain needs time to heal. Doctors generally prohibit

individuals from returning to normal activities—certainly including contact sports—until all




http://www.newyorker.com/magazine/2009/10/19/offensive-play (last visited August 8, 2018).




                                                       9
         Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 10 of 31




symptoms have subsided. They do so because, immediately after a concussion, the brain is

particularly vulnerable to further injury. Even after the immediate effects have worn off, a person

who has suffered a concussion is four to six times more likely to receive another concussion than

a person who has been concussion-free.

       38.     The length of the healing process varies from person to person and from concussion

to concussion. Symptoms may even last for one or two weeks.

       39.     Individuals who do not recover from a concussion within a few weeks are

diagnosed with post-concussion syndrome. The symptoms of post-concussion syndrome can last

for months, and sometimes can even be permanent. Generally, people suffering from post-

concussion syndrome are referred to specialists for additional medical help.

       40.     Still, many people think of concussions as short-term, temporary injuries. However,

decades of scientific research demonstrate the effects of concussions are anything but temporary.

       B.      Studies Confirm the Dangers and Long-Term Effects of Concussions.

       41.     Two of the leading studies of the long-term effects of concussions were conducted

by Boston University’s Center for the Study of Traumatic Encephalopathy and the Brain Injury

Research Institute. These studies showed the “devastating consequences” of repeated concussions,

including that they lead to an increased risk of depression, dementia, and suicide. These studies

have also demonstrated that repeated concussions trigger progressive degeneration      of the brain

tissue, including the build-up of an abnormal protein called the tau protein.

       42.     Between 2002 and 2007, Dr. Bennett Omalu of the Brain Injury Research Institute

examined the brains of five former NFL players: Andre Waters, Mike Webster, Terry Long, Justin

Strzelczyk, and Damien Nash. Waters killed himself; Nash died unexpectedly at the age of 24;

Webster, homeless and cognitively impaired, died of heart failure; and Strzelczyk died driving the




                                                 10
            Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 11 of 31




wrong way down a highway at 90 miles per hour. Four of the five brains showed the telltale

characteristics of CTE—a progressive, degenerative disease of the brain found in people with a

history of repetitive brain trauma.

           43.     In his early studies, Dr. Robert Cantu of the Boston University Center for the Study

of Traumatic Encephalopathy found evidence of CTE in 90 of 94 (96%) autopsied brains of former

NFL players. A recent update to these studies found CTE in a staggering 110 of 111 (99%) former

NFL players and 48 of 53 former college players (91%). 7

           44.     These more recent studies were neither aberrations nor surprises but confirmations

of what was already known or readily apparent from the existing medical literature.

           45.     Studies like these, which establish the devastating dangers related to TBIs, date

back to the early twentieth century. For example, in an article in the 1905 multi-volume medical

text A System of Medicine, surgeon Sir William Bennett noted that the dangers from TBIs can arise

just as easily when “no loss of consciousness occurs at all,” and that such injuries “may in the end

have far graver results” due to their “escap[ing] treatment altogether in the first instance” given

their less severe appearance. 8 Bennett noted that the imposition of a strict treatment regimen

immediately after an injury, during initial recovery, and following the initial recovery period, was

essential to the “treatment of all cases of concussion of the brain, whether they be severe or slight.”

           46.     Some early articles from this period began to recognize the unique dangers

presented by football, specifically. The editors of the Journal of the American Medical Association

recognized the long-term risks of such head injuries very early on, writing in 1905 that “[t]o be a




7
 Jesse Mez, MD, MS, et al., Clinicopathological Evaluation of Chronic Traumatic Encephalopathy in Players of
American Football, 318 JAMA 4, 360–370 (2017).
8
    Sir William Bennett, Some Milder Forms of Concussion of the Brain, A Sys. of Med. Vol. 8 231-32 (2d ed. 1910).




                                                         11
            Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 12 of 31




cripple or lunatic for life is paying high for athletic emulation” via football. 9 Similarly, the risks of

concussion in football were discussed in a 1906 article by Dr. Edward Nichols, who observed that

a concussed player might go through multiple plays before his teammates noticed his altered

mental state. 10

           47.     Beginning with studies on the brain injuries suffered by boxers in the 1920s,

medical science began to clearly recognize the debilitating effects of concussions and other TBIs,

connect it to contact sports (including football), and find that repetitive head impacts can cause

permanent brain damage and increased risk of long-term cognitive decline and disability.

           48.     For instance, in 1927, Drs. Michael Osnato and Vincent Giliberti discussed a

disease they called traumatic encephalitis in an article on post-concussion damage in Archives of

Neurology & Psychiatry, concluding that brain disease could manifest in “young men knocked out

in football and other games,” but noting that the issue had “not received adequate attention.”11

Then, in 1928, Pathologist Dr. Harrison Martland published a study called “Punch Drunk” in the

Journal of the American Medical Association, where he described the clinical spectrum of

abnormalities found in nearly 50 percent of boxers who had been knocked out or who had suffered

a considerable impact to the head. 12

           49.     Countless studies were later conducted on boxers suffering chronic neurological

symptoms as a result of repeated head injuries, and who displayed signs of dementia and

impairment of motor functions. 13 As incidents of chronic encephalopathy increased, they were


9
    Editors, The Football Mortality, 39 JAMA 1464 (1905).
10
     Edward Nichols, The Physical Aspect of American Football, 154 Boston Med. & Surgical J.1 (1906).
11
   Michael Osnato & Vincent Giliberti, Postconcussion Neurosis-Traumatic Encephalitis, 18 Archives of Neurology
& Psychiatry 181 (1927).
12
     Dr. Harrison S. Martland, Punch Drunk, 91 JAMA 1103 (1928).
13
  See, e.g., E. Guttmann & C.E. Winterstein, Disturbances of Consciousness After Head Injuries: Observations on
Boxers, 84 J. of Mental Sci. 347 (Mar. 1938); Harry L. Parker, Traumatic Encephalopathy (‘Punch Drunk’) of



                                                        12
             Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 13 of 31




often characterized as a “Parkinsonian” pattern of progressive decline. However, in a chapter of a

mid-twentieth century book on brain injuries, psychiatrists Karl M. Bowman and Abram Blau

coined the term “chronic traumatic encephalopathy” to explain the deterioration of a boxer’s

mental state over time. 14

           50.      In 1936, Dr. Edward J. Carroll, Jr. wrote an article further recognizing “punch-

drunk syndrome’s” seriousness, stating that “no head blow is taken with impunity, and [] each

knock-out causes definite and irreparable damage. If such trauma is repeated for a long enough

period, it is inevitable that nerve cell insufficiency will develop ultimately, and the individual will

become punch-drunk.” He also noted that in addition to boxers, punch drunk had been recognized

among football players. 15

           51.      The next year, the American Football Coaches Association published a report

warning that players who suffer even “one concussion” should be removed from play. 16

           52.      In 1952, an article published in The New England Journal of Medicine first

recommended a “three-strike rule” for concussions in football, demanding that players cease to

play football permanently after receiving their third concussion. 17

           53.      Starting in the late 1960’s, the medical community began focusing on the effects of

concussion-related injuries in football. In a 1967 study, Drs. John R. Hughes and D. Eugene

Hendrix examined how severe impacts affected brain activity in football players by utilizing


Professional Pugilists, 15 J. of Neurology & Psychopathology 20 (July 1934); C.E. Winterstein, Head Injuries
Attributable to Boxing, 2 Lancet 719 (Sept. 1937).
14
  K.M. Bowman & A. Blau, Psychotic States Following Head and Brain Injury in Adults and Children, Injuries of
the Skull, Brain and Spinal Cord: Neuropsychiatric, Surgical, and Medico-Legal Aspects 309 (S. Brock, ed. 1940).
15
     Edward J. Carroll, Jr., Punch-Drunk, 191 Am. J. Med. Sci. 706 (1936).
16
  Proceedings of the Seventeenth Annual Meeting of the American Football Coaches Association (Dec. 29, 1937)
(“Sports demanding personal contact should be eliminated after an individual has suffered a concussion”).
17
  Augustus Thorndike, Serious Recurrent Injuries of Athletes—Contraindications to          Further Competitive
Participation, 247 New Eng. J. Med. 554, 555-56 (1952).




                                                          13
             Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 14 of 31




electroencephalograms (“EEGs”). 18 Several years after that, a potentially fatal condition known as

“Second Impact Syndrome” was identified, which is a re-injury to an already-concussed brain that

triggers swelling the skull cannot accommodate.

           54.      In 1975, the Chief Medical Officer of the British Boxing Board of Control

suggested boxers were not the only persons or athletes vulnerable to the risk of long-term brain

injuries, stating:

                     Irreversible brain damage caused by regular excessive punching
                     can cause a boxer to become punch drunk, a condition known
                     euphemistically in medical terms as [Chronic] Traumatic
                     Encephalopathy. The condition can be caused by other hazards of
                     contact sports—taking too many falls while hunting or steep
                     chasing or the continual use of brute force rather than skill in the
                     rugby field or heading a football incessantly over many years.
                     Anything which entails intermittent trauma to the head can
                     cause it. 19

           55.      Overall, countless studies—published in prominent medical journals such as the

Journal of the American Medical Association, Neurology, The New England Journal of Medicine,

and Lancet—warned of the dangers of single concussions, multiple concussions, and/or football-

related head trauma from multiple concussions and head injuries. These studies                collectively

established that:

                       •    repetitive head trauma in contact sports, including football,
                            has potential dangerous long-term effects on brain function;
                       •    traumatic encephalopathy (dementia pugilistica) is caused by
                            repeated sub-concussive and concussive blows to the head;
                       •    acceleration and rapid deceleration of the head that results in
                            brief loss of consciousness also results in a tearing of the
                            axons (brain cells) in the brainstem;
                       •    with respect to head injury in athletes who play contact

18
   John R. Hughes & D. Eugene Hendrix, Telemetered EEG From A Football Player In                Action, 24
Electroencephalography & Clin. Neurophysiology 183 (1968).
19
     J.W. Graham, Eight, Nine, Out! Fifty Years as Boxer’s Doctor, 56 (1975).




                                                          14
          Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 15 of 31




                        sports, there is a relationship between neurologic pathology
                        and length of the athlete’s career;
                    •   immediate retrograde memory issues occur following
                        concussions;
                    •   head injuries require recovery time without risk of subjection
                        to further injury;
                    •   a football player who suffers a concussion requires
                        significant rest before being subjected to further contact; and
                    •   minor head trauma can lead to neuropathological and
                        neurophysiological alterations, including neuronal damage,
                        reduced cerebral blood flow, altered brainstem evoked
                        potentials and reduced speed of information processing.

        56.      As a result of these studies, medical professionals began recommending changes to

the game of football and how concussion-related injuries should be handled.

        57.      By 1991, Dr. Robert Cantu, the American Academy of Neurology, and the

Colorado Medical Society had developed return-to-play criteria for football players suspected of

sustained head injuries.

        58.      In 2003, an NCAA concussion study concluded that football players who had

previously sustained a concussion were more likely to have future concussion injuries. Another

2003 NCAA concussion study concluded that collegiate football players “may require several days

for recovery of symptoms, cognitive dysfunction, and postural instability after [a] concussion,”

and that concussions are “followed by a complex cascade of ionic, metabolic, and physiological

events that can adversely affect cerebral function for several days to weeks.” 20

        59.      Following these studies, in 2004, the National Athletic Trainers’ Association

published a position statement, recommending baseline cognitive and postural-stability testing, as



20
   Michael McCrea, et al., Acute Effects and Recovery Time Following Concussion in Collegiate Football Players,
The NCAA Concussion Study, The Journal of the Am. Med. Ass’n (November 19, 2003), available at
http://jama.jamanetwork.com/article.aspx?articleid=197668.




                                                      15
         Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 16 of 31




well as return-to-play recommendations, including holding out athletes who exhibit symptoms of

a suspected head injury.

       60.     Building upon that, a convention of neurological experts met in Prague in 2004 with

the aim of providing recommendations for the improvement of safety and health of athletes who

suffer concussive injuries in ice hockey, rugby, football, and other sports, based on the most up-

to-date research. These experts recommended that a player never be returned to play while

symptomatic, and coined the phrase, “when in doubt, sit them out.”

       61.     Ultimately, while the NCAA knew of the harmful effects of TBIs (and other head

injuries) on athletes for decades, they ignored these facts and failed to institute any meaningful

methods of warning and/or protecting the athletes, including football players like Kerry Goode and

other Alabama athletes. For the NCAA, the continued expansion and operation of college football

was simply too profitable to put at risk.

III.   The NCAA Breached Its Duties to Its Athletes, Including Kerry Goode, by Ignoring
       the Dangers of Concussions and Failing to Implement Adequate Concussion
       Management Protocols.

       62.     For decades, the NCAA has been aware—through its own institutional knowledge,

internal research, and current medical science, among other sources of information—that severe

and/or repeated head impacts can lead to long-term brain injuries, including memory loss,

dementia, depression, ALS, and CTE. Unfortunately, while the NCAA knew about the harmful

and devastating effects of these sub-concussive and concussive injuries, it recklessly ignored these

facts and failed to implement reasonable concussion management protocols to protect its athletes,

including Kerry Goode.

       63.      Such conduct stands in stark contrast to the NCAA’s approach in comparable

contexts. For instance, in 1960, the NCAA wholly discontinued its relationship with collegiate




                                                16
         Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 17 of 31




boxing following widespread criticism of the sport’s dangers and a heightened organizational

awareness of the long-term risks student boxers faced—including, but not limited to, developing

“punch drunk syndrome.” But as to college football, including Alabama’s football program, the

NCAA continued to govern, support, and profit from the sport without disclosing what it knew to

college athletes, including Kerry Goode.

       64.      Since at least 1933, the NCAA has known of the serious nature of concussions and

other head injuries in college football, and even recognized the need for appropriate concussion

management protocols. In its 1933 Sports Medicine Handbook—which it distributed to all

member institutions—the NCAA specifically recognized that head injuries warrant special

attention and should not be regarded lightly.

       65.      The 1933 Sports Medicine Handbook then provided information for school and

college doctors, coaches, and trainers to identify the signs and symptoms of concussions, as well

as methods to be used on the sidelines for treating them. It discussed head injuries, stating that they

“are in a category by themselves and warrant special attention,” as they “may be, and often are

more severe in their immediate and remote consequences” than other injuries. Notably, the 1933

Sports Medicine Handbook recommended that, when concussion-related symptoms lasted longer

than two days, players should “not be permitted to compete for 21 days or longer, if at all.” It also

stated, “[t]here is definitely a condition described as ‘punch drunk’ and often recurrent concussion

cases in football and boxing demonstrate this,” and that “[a]ny individual who is knocked

unconscious repeatedly on slight provocation should be forbidden to play body-contact sport.”

       66.      The NCAA recognizes that its Sports Medicine Handbook “may constitute some

evidence of the legal standard of care,” and has publicly recognized its duty and moral obligation

to protect collegiate athletes. As NCAA President Mark Emmert testified to the Senate Commerce




                                                  17
         Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 18 of 31




Committee in January 2014, “I will unequivocally state we have a clear moral obligation to make

sure we do everything we can to protect and support student-athletes.”

       67.      Indeed, in the September 1968 issue of NCAA News, the NCAA published an

article entitled Dangers of Grid Head Injuries Cited by Safeguards Committee. In the article, the

NCAA Committee on Competitive Safeguards and Medical Aspects of Sport issued a statement

on the dangers of repeated head injuries in football, stating:

                [T]hose individuals who have been rendered unconscious, even
                momentarily, in a given game should never be allowed to play
                again in the same game and not allowed to return to contact until
                all symptoms have cleared up entirely and he has been checked by
                a competent medical authority.

       68.     Rather than fully inform Kerry Goode and other Alabama athletes of these risks or

implement protocols to protect and safeguard them from TBI-related injuries (as the NCAA

promised to do through the NCAA Constitution, among other things), the NCAA has failed to

meaningfully adopt or enforce the internationally accepted guidelines regarding concussion

management and return to play protocols.

       69.     Instead, in complete disregard of the vast body of known scientific evidence and

the resources and authority that it possessed, the NCAA has failed, amongst other things, do any

of the following:

                    •   implement adequate guidelines or rules to prevent repeated
                        concussions, and failed to fully educate players, including
                        Kerry Goode, about the increased risk of concussive and
                        sub- concussive injury in football, particularly under
                        circumstances when the helmet is used as a weapon when
                        tackling, blocking, or running with the football;
                    •   recommend or enforce adequate return to play procedures or
                        take action to educate athletes, including Kerry Goode, about
                        the risks of repetitive head injuries;
                    •   conduct a football program that proactively encouraged
                        Kerry Goode and other Alabama football players to avoid



                                                  18
         Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 19 of 31




                      head injuries, instead compelling players to ignore
                      concussion symptoms and continue to play football within
                      moments of experiencing concussion symptoms; and
                  •   contact football players, including Kerry Goode, after
                      they left Alabama, to inform them that they had been
                      exposed to an increased risk of long-term brain damage
                      by the sub-concussive and concussive blows sustained
                      while playing football for Alabama.

       70.     In April 2010, under mounting public pressure, that the NCAA made changes to its

concussion treatment protocols, this time enacting a new policy that required its member

institutions to have a Concussion Management Plan (“CMP”) in place for all sports.

       71.     This policy is flawed, though: due to the very nature of concussions, athletes

suffering concussive injuries are in no position to police themselves or to give informed consent

about whether to continue playing. For example, the types of questions used to screen players for

concussions include “What’s your name?”, “What year is it?”, and “What sport are we playing?”

These types of questions are used for screening precisely because players               experiencing

concussions routinely fail to answer them correctly, despite their very elementary nature.

Following logically on that, a player who cannot state his or her own name is in no condition to

make an informed decision about whether or not to continue playing, and is entirely dependent on

others, such as the NCAA, and Alabama, to identify concussive injuries in real-time and take

appropriate remedial actions. The NCAA has stood in the role of guardian, tasked with making

decisions in his and other football players’ best interests. The NCAA failed to fulfill that role and

instead acted in its own self-interest, to the detriment of its athletes, including Kerry Goode.

       72.     In the end, the NCAA implemented these (still deficient) policies far too late for

Kerry Goode and other Alabama football players.




                                                 19
         Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 20 of 31




                            FACTS SPECIFIC TO KERRY GOODE

       73.       Kerry Goode, played NCAA football at Alabama from 1983 to 1987.

       74.        While playing at Alabama, Kerry Goode may have suffered concussions, and did

suffer countless sub-concussive hits as part of routine practice and gameplay.

       75.        Since the inception of Alabama’s football program, there were no or inadequate

concussion management protocols or policies in place to address and treat concussions sustained

by athletes during practice and in games. For instance, when Kerry Goode and other Alabama

players experienced a significant head injury or concussion, they would quickly be returned to the

field of play or only be taken out of play or practice for an inadequate period of time.

       76.        In fact, although Kerry Goode sustained repetitive serious blows to the head in

practices and games for the NCAA’s profit, the NCAA failed to adopt or implement adequate

concussion management safety protocols or return to play guidelines during his time on Alabama’s

football team.

       77.        As a result, Kerry Goode suffered from issues including, but not limited to,

numbness, twitching, muscle atrophy, fatigue, loss of mobility, slurred speech, weakness, along

with other neurological symptoms. Further solidifying this connection, on or around July 14, 2015,

Mr. Goode was diagnosed with Amyotrophic Lateral Sclerosis (ALS), commonly known as Lou

Gehrig’s disease, a debilitating and permanent condition caused by the repeated head trauma he

sustained during his college football career in the NCAA.

                                CLASS ACTION ALLEGATIONS

       78.       Class Definition: Plaintiff brings this action on behalf of himself and on behalf of

a class of similarly situated individuals, defined as follows:

                  All individuals who participated in Alabama’s football program between
                  1952 and 2014.



                                                  20
         Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 21 of 31




The following people are excluded from the Class: (1) any Judge or Magistrate presiding over this

action and members of their families; (2) Defendant, Defendant’s subsidiaries, parents, successors,

predecessors, and any entity in which the Defendant or its parents have a controlling interest and

its current or former employees, officers, and directors; (3) persons who properly execute and file

a timely request for exclusion from the Class; (4) persons whose claims in this matter have been

finally adjudicated on the merits or otherwise released; (5) Plaintiff’s counsel and Defendant’s

counsel; and (6) the legal representatives, successors, and assigns of any such excluded persons.

       79.     Numerosity: The exact number of members of the Class is not available to

Plaintiff at this time, but it is clear that individual joinder is impracticable. Upon information and

belief, hundreds of individuals fall into the definition of the Class.

       80.     Commonality: There are many questions of law and fact common to Plaintiff and

the Class, and those questions predominate over any questions that may affect individual members.

Common questions for the Class include, but are not limited to, the following:

         (a)     Whether Defendant had a duty to adequately warn and educate
                 players about the dangers and symptoms of concussions and
                 concussion- related brain injuries;

         (b)     Whether Defendant had a duty to enact rules and procedures to protect
                 players from sustaining concussions and concussion-related brain
                 injuries;

         (c)     Whether Defendant’s conduct as alleged herein constitutes a breach
                 of duty;

         (d)     Whether Defendant’s conduct as alleged herein constitutes negligence;

         (e)     Whether Defendant’s conduct as alleged herein constitutes breach
                 of contract;

         (f)     Whether Defendant’s conduct as alleged herein constitutes
                 fraudulent concealment; and




                                                  21
         Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 22 of 31




        (g)     Whether Plaintiff and the Class are entitled to equitable relief,
                including actual and compensatory damages, and other
                injunctive relief.

       81.     Typicality: Plaintiff’s claims are typical of those of members of the Class, as

Plaintiff and other members sustained injuries arising out of the same wrongful conduct of

Defendant.

       82.     Adequate Representation: Plaintiff will fairly and adequately represent the

interests of the Class and has retained counsel competent and experienced in complex litigation

and class actions. Plaintiff has no interest antagonistic to those of the Class, and Defendant has no

defenses unique to Plaintiff.

       83.     Predominance and Superiority: Class proceedings are superior to all other

available methods for the fair and efficient adjudication of this controversy, as joinder of all

members of the Class is impracticable. Individual litigation would not be preferable to a class

action because individual litigation would increase the delay and expense to all parties due to the

complex legal and factual controversies presented in this Complaint. By contrast, a class action

presents far fewer management difficulties and provides the benefits of single adjudication,

economy of scale, and comprehensive supervision by a single court. Economies of time, effort,

and expense will be fostered and uniformity of decisions will be ensured.

                               FIRST CLAIM: NEGLIGENCE
                      ( Kerry Goode and the Class as Against Defendant)

       84.     Plaintiff incorporates by reference the foregoing allegations.

       85.     From its inception and by virtue of its role as the governing body of college

athletics, the NCAA has historically assumed a duty to protect the health and safety of all athletes

at member institutions, including Kerry Goode. The NCAA also assumed a duty of care by

voluntarily taking steps to protect and promote the health and safety of its players, including



                                                 22
            Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 23 of 31




promulgating safety handbooks and regulations. That duty included an obligation to supervise,

regulate, and monitor the rules of its governed sports, and provide appropriate and up-to-date

guidance and regulations to minimize the risk of injury to its athletes.

        86.     The duties of the NCAA included specific obligations to supervise, regulate, and

monitor the rules of the Alabama football program and provide appropriate and up-to-date guidance

and regulations to minimize the risk of long-term and short-term brain damage to Alabama football

players, including Kerry Goode.

        87.     The NCAA had a duty to educate Alabama football players on the proper ways to

evaluate and treat head injuries during and after football games and practices, including repetitive

concussive and sub-concussive injuries. The NCAA’s duties further included a duty to warn its

athletes of the dangers of concussive and sub-concussive injuries and of the risks associated with

football before, during, and after they played college football, and as additional information came

to light.

        88.     The NCAA had a duty not to conceal material information from Alabama football

players, including Kerry Goode.

        89.     The NCAA breached its duties owed to Alabama athletes, including Kerry Goode,

by failing to implement, promulgate, or require appropriate and up-to-date guidelines regarding

the evaluation and treatment of TBIs on the playing field, in the locker room, and in the weeks

and months after they sustained TBIs, as well as providing treatment for the latent effects of TBIs.

These failings included, but are not limited to:

                 (a)    failing to adequately recognize and monitor concussive and
                        sub-concussive injury during football practices and games;

                 (b)    failing to adequately inform college football players of the
                        dangers of concussive and sub-concussive injuries;




                                                   23
         Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 24 of 31




                (c)     failing to adequately design and implement return to play
                        regulations for college football players who sustained
                        concussive and/or sub-concussive injuries and/or were
                        suspected of sustaining such injuries;

                (d)     failing to adequately design and implement procedures
                        to monitor the health of college football players after
                        they sustained (or were suspected of sustaining)
                        concussive and/or sub-concussive injuries;

                (e)     failing to adequately inform the families of college
                        football players who sustained concussive and/or sub-
                        concussive injuries; and

                (f)     failing to adequately provide adequate notification,
                        warning and treatment for latent neuro-cognitive and
                        neuro- behavioral effects of concussive and sub-
                        concussive injuries, after the time college football players,
                        including Kerry Goode, left Alabama.

       90.     The NCAA breached its duties to college football players, including Kerry Goode,

by failing to disclose and/or failing to recognize and/or being willfully non-observant of: (a)

material information regarding the long-term risks and effects of repetitive head trauma they

possessed or should have possessed; (b) the dangers of concussive and sub-concussive injuries;

and (c) the proper ways to evaluate, treat, and avoid concussive and sub-concussive trauma to

football players, including Kerry Goode.

       91.     As a football player at Alabama, Kerry Goode and those like him relied upon the

guidance, expertise, and instruction of the NCAA in understanding the risks associated with

serious and life-altering concussive and sub-concussive hits in football.

       92.     At all times, the NCAA had superior knowledge of material information regarding

the effects of repeated head injuries, including through its institutional knowledge of such effects.

Because such information was not readily available to Alabama football players, including Kerry

Goode, the NCAA knew or should have known that they would act and rely upon its guidance,




                                                 24
        Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 25 of 31




expertise, and instruction on these crucial medical issues while attending Alabama and thereafter.

       93.     Repetitive TBIs during college football practices and games have a pathological

and latent effect on the brain. Repetitive exposure to rapid accelerations to the head causes

deformation, twisting, shearing, and stretching of neuronal cells such that multiple forms of

damage take place, including the release of small amounts of chemicals within the brain, such as

protein, which is a signature pathology of the same phenomenon as boxer’s encephalopathy (or

“punch drunk syndrome”) studied and reported by Harrison Martland in 1928.

       94.     In addition, repetitive concussive and sub-concussive blows to the head can

significantly increase a person’s risk of developing neurodegenerative disorders and diseases,

including but not limited to CTE, Alzheimer’s disease, ALS, and other similar cognitive-impairing

conditions, especially when such blows are sustained at an early age.

       95.     As a direct and proximate result of Defendant’s negligence, college athletes,

including Kerry Goode, experienced repetitive concussive and sub-concussive impacts during his

college football career, which significantly increased their risk of developing neurodegenerative

disorders and diseases, including but not limited to ALS, Alzheimer’s disease, and other, similar

cognitive-impairing conditions, headaches, depression, memory loss, erratic behavior, paranoia,

apathy, anxiety, insomnia, loss of concentration, and other symptoms consistent with the

debilitating and latent disease known as Chronic Traumatic Encephalopathy (“CTE”). Further

solidifying this connection, on or around July 13, 2015, Mr. Goode was diagnosed with ALS.

       96.     The repetitive head accelerations and hits to which college athletes, including Kerry

Goode, was exposed to presented risks of latent and long-term debilitating chronic illnesses.

Absent the NCAA’s negligence and concealment, the risk of harm to these college athletes,

including Kerry Goode, would have been materially decreased, and they would not have developed




                                                25
          Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 26 of 31




serious mental health issues.

       97.     As a direct and proximate result of Defendant’s negligence, Kerry Goode and the

Class have incurred damages in the form of permanent brain damage, emotional distress, past and

future medical costs, health care, home care expenses, other out of pocket expenses, lost time, lost

future earnings, and other damages. Kerry Goode and members of the Class will also likely incur

future damages caused by Defendant’s negligence.

       98.     As such, Defendant is the direct and proximate cause of Plaintiff’s and the putative

Class’s injuries, and is liable to them for the full measure of damages allowed under applicable

law, as well as interest, reasonable attorneys’ fees, expenses, and costs.

                  SECOND CLAIM: BREACH OF EXPRESS CONTRACT
                     (Kerry Goode and the Class as Against Defendant)

       99.     Plaintiff incorporates by reference the foregoing allegations.

       100.    As a football player at Alabama, an institution governed by the NCAA, Kerry

Goode and other Alabama football players were required to, and did, enter into contracts with the

NCAA as a prerequisite to sports participation. These contracts required Kerry Goode and other

Alabama football players to complete a form affirming that they had read the NCAA regulations

and applicable NCAA Division manual, which expressly encompassed the NCAA Constitution,

Operating Bylaws, and Administrative Bylaws, and further, that they agreed to abide by Division

Bylaws.

       101.    In exchange for these college athletes’ agreements, the NCAA promised to perform

certain services and functions, including, amongst other things:

                (a)     conducting intercollegiate athletics in a manner designed
                        to protect and enhance the physical and educational
                        wellbeing of NCAA athletes;
                (b)     requiring that each member institution protect the health
                        of, and provide a safe environment for, each of its



                                                 26
         Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 27 of 31




                        participating athletes; and
                (c)     requiring that each member institution establish and
                        maintain an environment in which the NCAA athletes’
                        activities are conducted as an integral part of the
                        athletes’ educational experience.

       102.    By signing and agreeing to abide by NCAA rules and regulations, and thereafter

participating in NCAA-sanctioned sports programs in accordance with said rules and regulations,

Kerry Goode and other Alabama football players fulfilled their contractual obligations to the

NCAA.

       103.    As described in the foregoing allegations, the NCAA breached its contractual

agreement by failing to ensure Kerry Goode and other Alabama college athletes were provided a

safe environment in which to participate in collegiate football. The NCAA further breached its

contractual agreement by concealing and/or failing to properly educate and warn Kerry Goode and

other Alabama football players about the symptoms and long-term risks of concussions and

concussion-related traumatic injury.

       104.    Kerry Goode and other Alabama football players entered into written agreements

with the NCAA in which they committed to play football at Alabama, to attend Alabama as

students, and to comply with all codes of conduct and obligations as both football players and

students at Alabama.

       105.    Kerry Goode and other Alabama football players fulfilled their contractual

obligations to the NCAA.

       106.    The NCAA’s contractual breaches caused Kerry Goode and other Alabama football

players to suffer injuries and damages in the form of, inter alia, past, ongoing, and future medical

expenses, lost time, lost future earnings, and other damages.

       107.    As a result of its misconduct, the NCAA is liable to Plaintiff and the Class for the




                                                27
         Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 28 of 31




full measure of damages and other relief allowed under applicable law.

                    THIRD CLAIM: FRAUDULENT CONCEALMENT
                     (Kerry Goode and the Class as Against Defendant)

        108.   Plaintiff incorporates by reference the foregoing allegations.

        109.   The NCAA has long understood that repetitive head impacts sustained while

playing football created a risk of harm to college athletes that was similar or identical to the risk

boxers faced by participating in boxing practices and matches.

        110.   The NCAA was aware of and understood the significance of the published medical

literature described herein, which detailed the serious risk of short- and long-term brain injury and

disease associated with repetitive head impacts, including those which Kerry Goode and other

Alabama football players were exposed.

        111.   The NCAA knowingly concealed these risks from Kerry Goode and other Alabama

football players considering whether or not to participate in an NCAA football program.

        112.   By concealing these highly material facts, the NCAA intended to induce a false

belief in Kerry Goode and Alabama football players like him about the short- and long-term risks

of repetitive head impacts in football. As an entity that voluntarily took on the role of governing

the sport of football in colleges across the country (including Alabama), and was created and

perpetuated specifically to protect player safety, the NCAA had a duty to speak about these

issues—instead, it effectively remained silent. The NCAA’s intent in doing so was to induce Kerry

Goode and other Alabama football players to continue playing NCAA football, even after

sustaining one or more concussions and even when those concussions required additional time to

heal.

        113.   Kerry Goode and other Alabama football players could not have reasonably been

expected to know or discover the truth about the risks associated with concussive and sub-



                                                 28
         Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 29 of 31




concussive blows to the head, or were misled from obtaining such information. Kerry Goode and

other Alabama football players were under the care and treatment of the NCAA, and justifiably

relied on the NCAA’s effective silence as representing facts that did not exist.

       114.    Given the NCAA’s superior and unique vantage point, Kerry Goode and other

Alabama football players reasonably looked to the NCAA for guidance on head impacts—and

concussions, in particular—as well as the later-in-life consequences of receiving repetitive head

impacts during football games and practices at Alabama.

       115.    The NCAA failed to act reasonably in light of its omission, including by failing to

develop and implement adequate guidelines and rules regarding return-to-play criteria, and other

safety procedures. The NCAA’s inaction and concealment increased the risk of long-term injury

and illness in Alabama football players, including Kerry Goode —and indeed, did result in them

suffering from long-term brain injuries and disease.

       116.    As a direct and proximate result of Defendant’s knowing concealment and/or

willful blindness, Kerry Goode and other Alabama football players suffered substantial injuries.

       117.    As a direct result of the NCAA’s failure to reveal pertinent information, Kerry

Goode and Alabama football players like him incurred economic and non-economic damages in

the form of pain and suffering, permanent brain damage, past and future medical costs, health care,

home care expenses, other out of pocket expenses, lost time, lost future earnings, and the loss of

enjoyment of life. As a result, Defendant is liable to Plaintiff and the Class for the full measure of

damages allowed under applicable law.

              CERTIFICATION OF COMPLIANCE WITH O.C.G.A. § 9-2-61
               FOR A RENEWAL OF CASE AFTER PRIOR DISMISSAL

       118.    Plaintiff Goode previously filed similar claims against Defendant NCAA as set

forth in this Complaint in a prior action filed in the State Court of Clayton County, Georgia, Civil




                                                 29
         Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 30 of 31




Action No. 2017CV00596. Plaintiff Goode voluntarily dismissed that Complaint without prejudice

on September 29, 2020. In compliance with O.C.G.A. § 9-2-61(a), Plaintiff certifies that he has

met the requirement of payment of costs in the original action in order to properly renew this action,

as demonstrated by the Certificate of Costs attached hereto as Exhibit “A”.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, Kerry Goode, and on behalf of the Class, respectfully requests

that the Court enter an Order providing for the following relief:

       A.      Certify this case as a class action on behalf of the Class defined above, appoint

Plaintiff as representatives of the Class, and appoint his counsel as Class Counsel;

       B.      Declare that Defendant’s actions, as set out above, constitute negligence, breach

of contract, and fraudulent concealment;

       C.      Award all economic, monetary, actual, consequential, compensatory, and punitive

damages available at law and caused by Defendant’s conduct, including without limitation

damages for past, present, and future medical expenses, other out of pocket expenses, lost time

and interest, lost future earnings, and all other damages suffered, including any future damages

likely to be incurred by Plaintiff and the Class;

       D.      Award Plaintiff and the Class reasonable litigation expenses and attorneys’ fees;

       E.      Award Plaintiff and the Class pre- and post-judgment interest, to the extent

allowable;

       F.      Enter injunctive and/or declaratory relief as is necessary to protect the interests of

Plaintiff and the Class; and

       G.      Award such other and further relief as equity and justice may require.




                                                    30
       Case 3:21-cv-00026-CAR Document 1 Filed 03/25/21 Page 31 of 31




                                        JURY DEMAND

      Plaintiff demands a trial by jury for all issues so triable.



      Respectfully submitted,
                                              KERRY GOODE and all others similarly
                                              situated.

Dated: March 25, 2021                          By: ___/s/_Cale Conley__________________
                                                     Cale Conley
                                                     Georgia Bar No. 181080
                                                     CONLEY GRIGGS PARTIN LLP
                                                     4200 Northside Parkway
                                                     Building 1, Suite 300
                                                     Atlanta, GA 30327
                                                     Telephone: (404) 467-1155
                                                     cale@conleygriggs.com

                                                      Eugene R. Egdorf*
                                                      gene@shraderlaw.com
                                                      Alex Barlow*
                                                      Barlow@shraderlaw.com
                                                      James B. Hartle*
                                                      Jim@shraderlaw.com
                                                      SHRADER & ASSOCIATES, L.L.P.
                                                      9 Greenway Plaza, Suite 2300
                                                      Houston, Texas 77046
                                                      Telephone: (713) 782-0000
                                                      Facsimile: (713) 571-9605
                                                      Counsel for Plaintiff and the Putative Class
                                                      *Admission to be sought




                                                 31
